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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

     UBIQUITI NETWORKS, INC.,


                                Plaintiff,

                          v.
                                                           Civil Action No.: 1:18-cv-05369
     CAMBIUM NETWORKS, INC.;
     CAMBIUM NETWORKS, LTD.;
                                                           JURY TRIAL DEMANDED
     BLIP NETWORKS, LLC;
     WINNCOM TECHNOLOGIES, INC.;
     SAKID AHMED; and DMITRY
     MOISEEV.

                                Defendants.


        CORPORATE DISCLOSURE AND NOTIFICATION AS TO AFFILIATES

       Pursuant to Local Rule 3.2 and Federal Rule of Civil Procedure 7.1, Ubiquiti Networks,

Inc. (“Ubiquiti”) states as follows:

       1.      Ubiquiti is a publicly held corporation.

       2.      Ubiquiti has no parent corporation and no publicly held corporation directly owns

10% or more of Ubiquiti’s stock.

       3.      Ubiquiti has no publicly held affiliates.

 Dated: August 7, 2018                               Respectfully submitted,

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